               .. Case: 3:11-mj-00050-pao Document #: 5 Filed: 06/13/11 Page 1 of 1
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                               *   UNITED STATES DISTRICT COURT

           '* .~."
       *:""
                                    WESTERN DISTRICT OF WISCONSIN

                                                                                                                "V.tt           PI'
Office of the Clerk                                                                                              ~   . 1   j   ~.)"'


U.S. District Court
120 North Henry Street, Room 320
Madison, WI 53703

Date: May 31, 2011

To:       OFICE OF THE CLERK
          Western District of Texas
          San Antonio Division
          655 East Durango Blvd., Room 865
          San Antonio   TX 78206


Re:      USA v. DEKA ABDALLA SHEIKH
         OUf    Case NO.3: 11-mj - 50 -pao
         Your Case No. SA:11-CR-425 (2)

Dear Clerk:

Initial Transfer Out
      I Enclosed please find Probation Form 22 initiating the Transfer of Jurisdiction to your district. Please return an original to
      this office after jurisdiction has been accepted. When received, we will forward certified copies of the pertinent
      documents to you.

Final Transfer Out
      i Enclosed please find certified copies of Probation Form 22 transferring the jurisdiction from the District of Wisconsin to
       your District. Also, enclosed are certified copies of the charging document, Judgment & Commitment Order. Docket
       Sheet and Financial Case Inquiry Report.

Transfer In
i_    i Enclosed please find Probation Form 2~ indicating that our court has accepted jurisdiction. Please forward certified
       copies of Probation Form 22. charging document, Judgment & Commitment Order, Financial Case Inquiry Report and
       Docket Sheet for only this defendant.



       Enclosed please find certified copies of all documents filed in our court.

Rule 20
      , Enclosed please find certified copies of the Docket Sheet, charging instrument. and Consent to Transfer pursuant to Rule
       20.

Please acknowledge receipt of these documents by returning the enclosed copy of this letter
stamped RECEIVED.




cc:     USA
        FPD
        USMS
        IJSP
